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               EXHIBIT A
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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

USI INSURANCE SERVICES LLC,

       Plaintiff,                          Civil Action File No.

              v.                           1:20-cv-02490-SCJ

SOUTHEAST SERIES OF
LOCKTON COMPANIES, LLC,

       Defendant.


 PLAINTIFF USI INSURANCE SERVICES LLC’S RESPONSES AND
OBJECTIONS TO DEFENDANT SOUTHEAST SERIES OF LOCKTON
   COMPANIES, LLC’S SUPPLEMENTAL INTERROGATORIES

      Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure,

Plaintiff USI Insurance Services LLC (“USI”) hereby objects and responds to

Defendant Southeast Series of Lockton Companies, LLC’s (“Lockton”)

Supplemental Interrogatories to USI Insurance Services LLC as follows:

                   SPECIFIC OBJECTIONS AND
         RESPONSES TO SUPPLEMENTAL INTERROGATORIES

      Without waiving the general objections and responses set forth above, which

are specifically incorporated as if set forth in each of the following specific

responses, USI specifically responds to the following Interrogatories as follows:

INTERROGATORY NO. 1: Identify USI’s annual gross income for each year
from 2019 to present.
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RESPONSE:

      USI objects to Interrogatory No. 1 as Lockton has failed to provide evidence

sufficient to show an evidentiary basis for a punitive damage. Lockton’s only

remaining counterclaim concerns the Marchisotto email and Lockton has offered

insufficient evidence that the sending of that one email could support a punitive

damage claim under Georgia law. In addition, USI objects to the definition of “USI”

as it purports to include “any parent, subsidiary or other entity related to USI. Subject

to and without waiving the foregoing objections, pursuant to Fed. R. Civ. P. 33(d),

USI refers Lockton to the documents it is producing in response to Lockton’s

Supplemental Request for Production of Documents. Such documents are

designated “Confidential - Outside Counsel’s Eyes Only” pursuant to the

Protective Order entered in this action.

INTERROGATORY NO. 2: Identify USI’s annual net profit for each year from
2019 to the present, including the amount of net profit and the year in which it was
received, each Person who was involved in the calculation of net profit, the gross
income used to calculate net profits, the deductible costs used to calculate net profits,
the method used to calculate net profits, and all Documents used to calculate net
profits.

RESPONSE:

      USI objects to Interrogatory No. 2 as Lockton has failed to provide evidence

sufficient to show an evidentiary basis for a punitive damage. Lockton’s only

remaining counterclaim concerns the Marchisotto email and Lockton has offered


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insufficient evidence that the sending of that one email could support a punitive

damage claim under Georgia law. In addition, USI objects to the definition of “USI”

as it purports to include “any parent, subsidiary or other entity related to USI. USI

further objects to this Interrogatory as it is overly broad to the extent it seeks the

identification of each Person who was involved in the calculation of net profit, the

gross income used to calculate net profits, the deductible costs used to calculate net

profits, the method used to calculate net profits, and all Documents used to calculate

net profits. Subject to and without waiving the foregoing objections, pursuant to Fed.

R. Civ. P. 33(d), USI refers Lockton to the documents it is producing in response to

Lockton’s Supplemental Request for Production of Documents. Such documents are

designated “Confidential – Outside Counsel’s Eyes Only” pursuant to the

Protective Order entered in this action.

INTERROGATORY NO. 3: To the extent that USI seeks such information from
Lockton pursuant to a motion to compel, identify any litigation, arbitration, or other
similar proceeding commenced from January 1, 2015 to the present, where a Person
(or Persons) alleged liability against USI for tortious interference with a contractual
relationship, including the caption, the case number, if any, the forum, venue, and
the manner in which the claim was resolved.

RESPONSE:

      USI objects to Interrogatory No. 3 as Lockton has failed to provide evidence

sufficient to show an evidentiary basis for a punitive damage. Lockton’s only

remaining counterclaim concerns the Marchisotto email and Lockton has offered

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insufficient evidence that the sending of that one email could support a punitive

damage claim under Georgia law. In addition, USI objects to the definition of “USI”

as it purports to include “any parent, subsidiary or other entity related to USI. USI

further objects to this Interrogatory as it seeks information that is neither relevant to

the issues raised in this action nor reasonably calculated to lead to the discovery of

relevant or admissible evidence. Subject to and without waiving the foregoing

objection, USI states that as of the date of service of the Responses to the

Interrogatories, USI has not filed a Motion to Compel and therefore a response to

Interrogatory No. 3 is not required at this time.

INTERROGATORY NO. 4: To the extent that USI seeks such information from
Lockton pursuant to a motion to compel, identify any litigation, arbitration, or other
similar proceeding commenced from January 1, 2015 to the present, where a
judgment or award of punitive damages was entered against USI for tortious
interference with a contractual relationship, including the caption, the case number,
if any, the forum, venue, and the amount of punitive damages awarded.

RESPONSE:

      USI objects to Interrogatory No. 4 as Lockton has failed to provide evidence

sufficient to show an evidentiary basis for a punitive damage. Lockton’s only

remaining counterclaim concerns the Marchisotto email and Lockton has offered

insufficient evidence that the sending of that one email could support a punitive

damage claim under Georgia law. In addition, USI objects to the definition of “USI”

as it purports to include “any parent, subsidiary or other entity related to USI. USI


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further objects to this Interrogatory as it seeks information that is neither relevant to

the issues raised in this action nor reasonably calculated to lead to the discovery of

relevant or admissible evidence. Subject to and without waiving the foregoing

objection, USI states that as of the date of service of the Responses to the

Interrogatories, USI has not filed a Motion to Compel and therefore a response to

Interrogatory No. 4 is not required at this time.

INTERROGATORY NO. 5: To the extent that USI seeks such information from
Lockton pursuant to a motion to compel, identify any entity that has held an
insurance license on USI’s behalf.

RESPONSE:

      USI objects to Interrogatory No. 5 as Lockton has failed to provide evidence

sufficient to show an evidentiary basis for a punitive damage. Lockton’s only

remaining counterclaim concerns the Marchisotto email and Lockton has offered

insufficient evidence that the sending of that one email could support a punitive

damage claim under Georgia law. In addition, USI objects to the definition of “USI”

as it purports to include “any parent, subsidiary or other entity related to USI. USI

further objects to this Interrogatory as it seeks information that is neither relevant to

the issues raised in this action nor reasonably calculated to lead to the discovery of

relevant or admissible evidence. Subject to and without waiving the foregoing

objection, USI states that as of the date of service of the Responses to the



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Interrogatories, USI has not filed a Motion to Compel and therefore a response to

Interrogatory No. 5 is not required.

INTERROGATORY NO. 6: Identify every Person who participated in the
preparation of USI’s responses to these supplemental interrogatories, and for each
such Person, identify the interrogatory or interrogatories for which such Person
provided responsive information.

RESPONSE:

      USI objects to Interrogatory No. 6 to the extent it seeks information that is

protected from disclosure by the attorney-client privilege, the work product doctrine,

or any other protection or privilege recognized by law. Subject to and without

waiving the foregoing general and specific objections, USI states that the responses

to the Interrogatories were prepared using information from a variety of sources,

including information from USI’s records, with the assistance of USI’s counsel. USI

further states subject to its objections, that the factual information contained in the

responses was verified by Tracy Moore of USI (may be contacted through counsel

for USI).

      Respectfully submitted this 8th day of September, 2022.

                                        PARKER, HUDSON, RAINER &
                                        DOBBS LLP

                                        /s/ Jared C. Miller_______________
                                        Nancy H. Baughan
                                        Georgia Bar No. 042575
                                        Jared C. Miller


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                             Counsel for USI Insurance Services LLC




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served a copy of the within and

foregoing PLAINTIFF USI INSURANCE SERVICES LLC’S RESPONSES

AND OBJECTIONS TO DEFENDANT SOUTHEAST SERIES OF

LOCKTON              COMPANIES,               LLC’S          SUPPLEMENTAL

INTERROGATORIES upon all counsel of record by e-mail sent to the counsel

listed below at the e-mail addresses listed below and by causing a copy of same to

be deposited in the U.S. Mail, proper postage prepaid, addressed as follows:

                         Joseph D. Wargo, Esq.
                         David M. Pernini, Esq.
                         Brandon Parrish, Esq.
                         Wargo & French LLP
                         999 Peachtree Street, NE, Suite 1120
                         Atlanta, Georgia 30309
                         jwargo@wfslaw.com
                         dpernini@wfslaw.com
                         bparrish@wfslaw.com

      This 8th day of September, 2022.


                                            /s/ Jared C. Miller
                                            Jared C. Miller
